               Case 04-57950-KJC        Doc 157        Filed 06/22/11   Page 1 of 2




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


                                                   )
 In re:                                            )    Chapter 11
                                                   )
 INSILCO TECHNOLOGIES, INC., et al.,               )    Case No. 02-13672 (KJC)
                                                   )
                Debtors.                           )    Jointly Administered
                                                   )
                                                   )
                                                   )
 CHAD J. SHANDLER, CREDITOR                        )
 TRUSTEE OF INSILCO TECHNOLOGIES,                  )
 INC., et al.,                                     )
                                                   )
                Plaintiff,                         )    Adv. Pro. No. 04-57950 (KJC)
                                                   )
                    v.                             )
                                                   )
 CREDIT SUISSE SECURITIES (USA) LLC,               )
                                                   )
                Defendant.                         )
                                                   )
                                                   )

                               STIPULATION OF DISMISSAL

          IT IS HEREBY STIPULATED AND AGREED, this 22nd day of June, 2011, by and

between the parties to this action and subject to the approval of the Court, that pursuant to

Federal Rule of Civil Procedure 41(a)(1)(ii), all claims pending in this action are dismissed with

prejudice, with each party to bear its own costs and attorney’s fees.



                               [Signatures to Follow on Next Page]
                 Case 04-57950-KJC   Doc 157    Filed 06/22/11    Page 2 of 2




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                                               Counsel for Credit Suisse Securities (USA) LLC



   IT IS SO ORDERED this ___ day of ______________, 2011.



                                                 The Honorable Kevin J. Carey
                                                 Chief United States Bankruptcy Judge




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